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                                              STATE OF NEW YORK
                                       OFFICE OF THE ATTORNEY GENERAL
ERIC T. SCHNEIDERMAN                                                                                  DIVISION OF STATE COUNSEL
 ATTORNEY GENERAL                                                                                   LITIGATION BUREAU

                                            Writer’s Direct Dial: (212) 416-8552


                                                        February 26, 2018

      By Electronic Filing
      Honorable Vernon S. Broderick
      Southern District of New York
      40 Foley Square, Room 415
      New York, New York 10007

              Re:       Valentin Order in Hill v. The City of New York, et al., 17-cv-1420 (VSB)

      Dear Judge Broderick:

              On December 27, 2017, this Court issued a Valentin Order directing our Office “to
      identify the John Doe Court Officers who Plaintiff alleges assaulted him on January 18, 2016, at
      the courthouse located at 100 Centre Street, New York, New York.” (Order of Service, Docket
      No. 10 at 3). 1 The Court also directed the New York City Law Department “to identify the John
      Doe Police Officers who Plaintiff alleges falsely arrested him on January 14, 2016.” (Id.) We
      write to respectfully request that the Court direct Mr. Hill to provide additional information
      about the alleged incident and to allow this Office more time to identify the John Doe officers
      after Plaintiff provides additional information.
              Having reviewed the operative pleading, there are a number of inconsistencies between
      the original and amended complaints that make it difficult for our Office to provide the requested
      information. Additionally, the New York City Law Department has provided updated
      information in its February 22, 2018 letter to the Court (Letter, Docket No. 12 at 2) which, if
      true, provides further support for our request for additional time to respond to the Court’s
      Valentin Order.




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       In the same order, the Court deemed Plaintiff Scott Hill’s original complaint, dated January 19, 2017, and amended
      complaint, dated September 28, 2017, jointly to be the operative pleading in this case; dismissed Hill’s claims
      against the New York City Police Department; and directed Hill to file a second amended complaint naming the
      John Doe defendants within thirty days of receiving their identifying information from the State and City
      defendants. (Order of Service, Docket No. 10).

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       a. Discrepancies in the Operative Pleading
        First, it is unclear from the operative pleading on what date the alleged incident occurred.
While the original complaint alleges that the incident occurred on January 18, 2016, the amended
complaint alleges it occurred on January 14, 2016. Indeed, the Court’s Valentin Order directs the
City to identify NYPD officers responsible for Mr. Hill’s arrest on January 14, while directing
this Office to identify the John Doe court officers allegedly present at Mr. Hill’s arraignment on
January 18, 2016. The Law Department, however, has advised the Court that they conferred with
Mr. Hill about some of the discrepancies contained in the operative pleading, and that he
believes the alleged assault occurred on January 14, 2016, shortly after his arrest and
arraignment. (Id. at 2).
         Second, it is unclear where exactly the alleged assault on plaintiff occurred. The original
complaint alleges that the incident may have occurred in two separate places—the Manhattan
Detention Center Complex and in or near an unidentified courtroom, presumably at 100 Centre
Street. In the amended complaint, Mr. Hill alleges that he was assaulted by court officers after
being arrested and brought to “the courthouse,” but fails to provide any further information about
the incident. The Notice of Claim attached to Plaintiff’s original complaint indicates that the
alleged assaulted occurred in the pens “behind the courtroom” in which he was arraigned.
(Notice of Claim ¶ 2, Docket No. 1.) According to the Law Department’s letter, Plaintiff believes
that the alleged assault occurred while he was waiting in the “holding pens” area of the Criminal
Court before being returned by bus to the “tombs.” (Law Dept. letter at 2).
        Lastly, Plaintiff provides no descriptive details concerning the John Doe officers, other
than that the five or six officers may have been African American (Notice of Claim ¶ 2, Docket
No. 1.) To assist us in identifying the John Doe officers, we respectfully request that Plaintiff be
directed to provide additional identifying characteristics in addition to the other information
requested herein.
        Taken together, these allegations do not provide our Office with enough information to
ascertain the identity of the John Doe court officers, if any, whom Mr. Hill seeks to sue here.
       b. Request for Clarifying Information and Additional Time
        This Office respectfully requests that Plaintiff confirm in writing the date, approximate
time, and location of the alleged assault, as well as any identifying characteristics of the John
Doe officers. At present, we have not yet sought information concerning court officers on duty
for January 14, 2016, and have limited information concerning officers on duty on January 18,
2016. With the limited and inconsistent information provided to date, we cannot identify, with
any specificity, the alleged John Doe officers. On any given weekday, there are over one
hundred court officers on duty at the Criminal Court located at 100 Centre Street as well as a
significant number of other law enforcement officers. Knowledge of the location of the alleged
assault is critical in ascertaining who the John Doe officers are due to the separate jurisdictions
of the State and City agencies with respect to the custody of prisoners in different areas of the
courthouse.




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        If the Court would prefer that we respond to the current Valentin order, we will endeavor
to provide the requested information, but believe that it would be in the best interests of the
parties if Mr. Hill provided further information about the alleged incident.
          We appreciate the Court’s attention to this matter.

                                                     Respectfully,


                                                                 /S/
                                                     Michael Siudzinski
                                                     Jonathan Conley
                                                     Assistant Attorney General

Cc:       Scott Hill, by post
          Plaintiff pro se

          NYC Law Department, by ECF
          Counsel for City Defendants




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